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                 EXHIBIT 30
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                                          10638



From:                              Roy III, Daniel P.
Sent:                              Monday, November 4, 2019 7:29 PM
To:                                'brent.gleason@gmail.com'
Cc:                                'Michael Bloch'; Siegel, Joshua
Subject:                           RE: Thomas Ryan Rousseau - Discord Authorization
Attachments:                       Rousseau Authorization and Consent to Disclose Data.pdf; Twitter account recovery
                                   process.docx; Rousseau ESI Certification.pdf


Brent,

We would like to follow up on the below – please confirm that your client has submitted the Discord authorization
forms.

In addition, please ensure that Mr. Rousseau submits his authorization to Twitter. The process for doing so is explained
in the attached instructions.

Finally, I am copying our contact at the third-party discovery vendor retained in this action, Ken Kim. Please arrange for
Mr. Rousseau’s devices, as listed in the attached ESI Certification, to be sent to Mr. Kim for imaging.

Please confirm that Mr. Rousseau has submitted all authorizations no later than November 8th. In addition, we ask that
you confirm that Mr. Rousseau has submitted his electronic devices for imaging no later than November 14th. We
reserve all rights to seek relief from the Court should we not receive such confirmations.

Best,

Dan



From: Roy III, Daniel P.
Sent: Thursday, October 24, 2019 4:35 PM
To: 'brent.gleason@gmail.com' <brent.gleason@gmail.com>
Cc: 'Michael Bloch' <mbloch@kaplanhecker.com>; Siegel, Joshua <jsiegel@cooley.com>
Subject: Thomas Ryan Rousseau - Discord Authorization

Brent,

As discussed at Mr. Rousseau’s deposition last week, Mr. Rousseau is required to complete the attached Discord
authorization for each of his Discord handles (i.e., Thomas Ryan (Discord ID: 255039575758602240; Thomas Ryan
(Discord ID: 363070228864696330); and Commander#770). Once they are complete, please ensure that they are
submitted from whichever of Mr. Rousseau’s email accounts is associated with that particular handle. Otherwise,
Discord will reject the authorization.

We will also be following up shortly with instructions for sending Mr. Rousseau’s electronic devices to the vendor for
imaging, etc.

Please let me know if you have any questions.

Thanks,
                                                             1
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Dan

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